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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                BALTIMORE DIVISION

    JASON ALFORD, DANIEL LOPER, WILLIS
    MCGAHEE, MICHAEL MCKENZIE, JAMIZE
    OLAWALE, ALEX PARSONS, ERIC SMITH,
    CHARLES SIMS, JOEY THOMAS, and LANCE
    ZENO, Individually and on Behalf of All Others
                                                        Case No. 1:23-cv-00358-JRR
    Similarly Situated,

          Plaintiffs,

    v.

    THE NFL PLAYER DISABILITY & SURVIVOR
    BENEFIT PLAN; THE NFL PLAYER
    DISABILITY & NEUROCOGNITIVE BENEFIT
    PLAN; THE BERT BELL/PETE ROZELLE NFL
    PLAYER RETIREMENT PLAN; THE
    DISABILITY BOARD OF THE NFL PLAYER
    DISABILITY & NEUROCOGNITIVE BENEFIT
    PLAN; DENNIS CURRAN; JACOB FRANK;
    BELINDA LERNER; SAM MCCULLUM;
    ROBERT SMITH; JEFF VAN NOTE; and
    ROGER GOODELL,

           Defendants.

         PLAN DEFENDANTS’ CONSENT MOTION FOR EXTENSION OF TIME TO
               RESPOND TO PLAINTIFFS’ CLASS ACTION COMPLAINT

          On March 1, 2023, the Individual Defendants1 filed a Consent Motion, ECF No. 17

(“Individual Defendants’ Consent Motion”), seeking an extension of their deadline to respond to

Plaintiffs’ Class Action Complaint to April 21, 2023, which this Court granted on March 6, 2023.

ECF No. 22. Pursuant to Local Rule 105.9, the other Defendants in this case – The NFL Player



1
 The Individual Defendants are Dennis Curran, Jacob Frank, Belinda Lerner, Sam McCullum,
Robert Smith, Jeff Van Note, and Roger Goodell.
                                               1
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Disability & Survivor Benefit Plan, The NFL Player Disability & Neurocognitive Benefit Plan,

The Bert Bell/Pete Rozelle NFL Player Retirement Plan, and The Disability Board of the NFL

Player Disability & Neurocognitive Benefit Plan (collectively, the “Plan Defendants”) – hereby

move for the same extension to April 21, 2023 to respond to Plaintiffs’ Class Action Complaint

for substantially the same reasons set forth in the Individual Defendants’ Consent Motion and so

that all Defendants’ responses will be due on the same day. Counsel for the Plan Defendants have

conferred with Plaintiffs’ counsel, and Plaintiffs consent to this Motion, conditioned on the Plan

Defendants’ agreement, that, like the Individual Defendants, they will not oppose Plaintiffs having

45 days to oppose any motion(s) to dismiss.

       The Plan Defendants respectfully request that the extension be granted, as set forth in the

accompanying Proposed Order.


   Dated: March 6, 2023                             Respectfully submitted,

                                                    /s/ Edward J. Meehan
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                                                    Counsel for Defendants The NFL Player
                                                    Disability & Survivor Benefit Plan, The
                                                    NFL Player Disability & Neurocognitive
                                                    Benefit Plan, The Bert Bell/Pete Rozelle
                                                    NFL Player Retirement Plan, and The
                                                    Disability Board of the NFL Player
                                                    Disability & Neurocognitive Benefit Plan




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